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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

TRUSTEES OF INTERNATIONAL UNION
OF PAINTERS AND ALLIED TRADES
DISTRICT COUNCIL 711 HEALTH &
WELFARE FUND; TRUSTEES OF
INTERNATIONAL UNION OF PAINTERS
AND ALLIED TRADES DISTRICT
COUNCIL 711 VACATION FUND;
TRUSTEES OF PAINTERS DISTRICT
COUNCIL 711 FINISHING TRADES
INSTITUTE; INTERNATIONAL UNION OF
PAINTERS AND ALLIED TRADES
DISTRICT COUNCIL 711 HEALTH &
WELFARE FUND; INTERNATIONAL
UNION OF PAINTERS AND ALLIED
TRADES DISTRICT COUNCIL 711
VACATION FOND; PAINTERS DISTRICT
COUNCIL 711 FINISHING TRADES
INSTITOTE; AND INTERNATIONAL
UNION OF PAINTERS AND ALLIED
TRADES DISTRICT COUNCIL 711,

Vv.

AUSSIE PAINTING CORP.

Plaintiffs, :

Defendant. |

 

' Civil Action No.:

COMPLAINT

Plaintiffs, by and through undersigned counsel, state as follows:

 
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JURISDICTION AND VENUE

1. The jurisdiction of this Court is invoked pursuant to Sections
502(e)(1) and (f) and 515 of the Employee Retirement Income Security Act of
1974 (“ERISA”), 29 U.S.C. §1132(e)(1) and (f) and §1145 respectively, and §301
of the Labor Management Relations Act (“LMRA”), and 29 U.S.C. §185; and 28
U.S.C, §1331.

2. This Court is one of proper venue pursuant to Section 502(e)(2) of
ERISA, 29 U.S.C. §1132(e)(2), and Section 301 of the LMRA, 29 U.S.C. §185
because the Trust Funds are administered in the State of New Jersey, the breach
took place in New Jersey.

3. A copy of this Complaint is being served on the Secretary of Labor and
the Secretary of the Treasury of the United States by certified mail in accordance
with 29 U.S.C. §1132(h).

PARTIES

4. Plaintiffs, Trustees of International Union of Painters and Allied Trades
District Council 711 Health & Welfare Fund (“Health Fund”) are the employer and
employee trustees of a labor-management trust find organized and operated pursuant
to a Trust Agreement and Collective Bargaining Agreement(s) (“CBA”) in
accordance with Section 302(c)(5) of LMRA, 29 U.S.C. §186(c)(5). The Health

Fund is an employee benefit plan within the meaning of Section 3(3) of ERISA, 29

 
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U.S.C. §1002(3), and a multiemployer plan within the meaning of section 3(37) of
ERISA 29 U.S.C. §1002(37).

5. Plaintiffs, Trustees of International Union of Painters and Allied Trades
District Council 711 Vacation Fund (“Vacation Fund”) are the employer and
employee trustees of a labor-management trust fund organized and operated pursuant
to a Trust Agreement and CBA(s) in accordance with section 302(c)(5) of LMRA, 29
USS.C, §186(c)(5). The Vacation Fund is an employee benefit plan within the
meaning of section 3 (3) of ERISA, 29 U.S.C. §1002(3), and a multiemployer plan
within the meaning of section 3 (37) of ERISA 29 U.S.C. §1002(37).

6. Plaintiffs, Trustees of Painters District Council 711 Finishing Trades
Institute (“FTT”’) are the employer and employee trustees of a labor-management trust
fund organized and operated pursuant to a Trust Agreement and CBA(s) in
accordance with section 302 (c)(5) of LMRA, 29 U.S.C. §186(c)(5). The FT] is an
employee benefit plan within the meaning of Section 3 (3) of ERISA, 29 U.S.C.
§1002(3), and a multiemployer plan within the meaning of Section 3 (37) of
ERISA 29 U.S.C. §1002(37).

7. Plaintiffs, International Union of Painters and Allied Trades District
Council 711 Health & Welfare Fund, International Union of Painters and Allied
Trades District Council 711 Vacation Fund; and Painters District Council 711

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Finishing Trades Institute (collectively “Funds”) maintain their principal place of

 
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business at 27 Roland Ave, Suite 200, Mt. Laurel, New Jersey 08054.

8. The Funds are also the collecting agent for the Labor Management
Cooperation Initiative (“LMCI”), National Finishing Trades Institute of New
Jersey (“N-FTY’), Industry Advancement Fund (“IAF”), the Political Action
Committee (“PAC”), Safety Training Recognition Awards Program (“Stars”), the

Job Targeting Program (“Job Targeting’), and Political Action Together (“PAT”).

9. | The Funds are authorized to sue in their own names pursuant to
Section 502(d)(1) of ERISA, 29 U.S.C. §1132(d)(1).

10. The Trustees of the Funds are fiduciaries within the meaning of
Section 3(21) of ERISA, 29 U.S.C. §1002(21)(A).

11. The Funds bring this action on behalf of their Trustees, committee
members, participants and beneficiaries pursuant to Section 502 of ERISA, 29
U.S.C. §1132, and Section 301 of LMRA, 29 U.S.C. §185.

12. Plaintiff International Union of Painters and Allied Trades District
Council 711 (the “Union”) brings this action for dues check-offs and other
contributions owed pursuant to the CBA(s).

13. The Union is a labor organization within the meaning of Section 301
of the LMRA, 29 U.S.C. § 185, and Section 3(4) of ERISA, 29 U.S.C. § 1002(4),
and represents employees in an industry affecting commerce.

14. The Union maintains it principal place of business at 9 Fadem Road,

 
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Springfield, New Jersey 07081.

15. Defendant, Aussie Painting Corp. (“Aussie”), is referred to as
"Defendant" or "Employer" and "Party in Interest" as defined in Sections 3(5) and
3(14) of ERISA, 29 U.S.C. §1002(5) and (14) respectively, and was or is an
employer in an industry affecting commerce within the meaning of Section 301 of
LMRA, 29 U.S.C. §185.

16. Upon information and belief, Defendant Aussie maintained or
maintains its principal place of business at 288 Park Avenue, Manhasset, New
York 11030.

17. Defendant Aussie conducted or conducts business in the State of New
Jersey.

COUNT ONE
Failure to Remit Contributions

18. The Funds incorporate the allegations in Paragraphs | through 17 of this
Complaint as if set forth herein in their entirety.

19. Atall relevant times, Defendant Aussie was party to or agreed to abide
by the terms and conditions of a CBA(s) with the Union or one or more local labor
untons or district councils affiliated with the Union.

20. The CBA provides that Defendant Aussie must make specified fringe

benefit contributions to the Funds, and remit administrative dues as required by the

 
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CBA for Defendant Aussie’s represented employees.

21. The foregoing CBA was executed by Defendant Aussie.

22. Despite its contractual obligation, and though it reaped the benefit of
the labor provided by their employees, Defendant Aussie failed to remit the
required contributions to the Funds for the benefit of its employees.

23. Defendant Aussie failed to remit or has only remitted a portion of the
required contributions to the Funds for the benefit of its employees including, but
not limited to, the 2016 Route 22 Project.

24. Payment of the delinquent contributions and penalties assessed against
Defendant Aussie has been demanded by the Funds, but Defendant Aussie has refused
to submit the required payments.

25. Such delinquencies constitute prohibited transactions under 29 U.S.C.
§1106(a)(1)(B).

26. Failure to pay the delinquencies enumerated in the CBA is violative of
29 U.S.C, §1145.

27. This action is brought by the fiduciaries of the Funds pursuant to Section
502(g)(2), 29 U.S.C. §1132(g)(2), and Section 515 of ERISA, 29 U.S.C. §1145,
pursuant to which this Court is directed to award all unpaid contributions, interest,
liquidated damages up to or exceeding twenty percent (20%), reasonable attorneys’

fees, court costs, and any other fees or relief which the Court deems appropriate.

 
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WHEREFORE, the Funds respectfully request the following relief:
(A) Order Defendant Aussie to pay all contributions due and owing
to the Funds and the Union;
(B) Order Defendant Aussie to pay interest on the delinquent
contributions as provided by 29 U.S.C. §1132(g);
(C) Order Defendant Aussie to pay liquidated damages as provided
by 29 U.S.C, §1132¢g);
(D) Order Defendant Aussie to pay a penalty of 20% of the unpaid
balance pursuant to the Funds’ Collection Policy;
(E) Order Defendant Aussie to specifically perform all obligations to
the Funds under the CBA;
(F) Order Defendant Aussie to pay the Funds’ reasonable attorneys’
fees incurred in the prosecution of this action as provided by 29 U.S.C. §1132(g);
and
(G) Order such other and further relief as this Court may deem
equitable, just and appropriate.
COUNT TWO
Failure to Remit Dues Check-Offs
28. Plaintiffs incorporate the allegations of Paragraphs | through 27 of

this Complaint as if set forth herein in their entirety.
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29. Defendant Aussie is signatory to, or has assented to, the CBA with the
District Council 711 and employs Union members.
30. Defendant Aussie failed to remit dues check-offs for the period
including, but not limited to, the 2016 Route 22 Project.
31. Defendant Aussie violated the CBA by failing to remit dues check-offs
and other contributions to the Plaintiff Union.
32. Payment of the dues check-off amounts have been demanded by the
Plaintiff Union, but Defendant Aussie has refused to submit the required payments.
WHEREFORE, Plaintiff Union respectfully requests that this Court:
(A) Order Defendant Aussie to pay dues check-offs due and owing
to the Plaintiff Union; and
(B) Order such further legal, equitable or other relief as is just and
proper.
COUNT THREE
33. The Funds incorporate the allegations in Paragraphs 1 through 32 of this
Complaint as if set forth herein in their entirety.
34. Defendant Aussie is required by the controlling CBA(s), Trust
Agreements, plan documents of the ERISA Funds and applicable federal law to
permit the Funds to audit their records, to cooperate in determining the contributions

due to the Funds, and to pay the cost of the audit if found to be delinquent.

 
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35. The amount of fringe benefit contributions that Defendant Aussie is
required to pay to the Funds is based upon the number of hours worked by and paid
to employees who perform work that is governed by the terms of the applicable
CBA.

36. The Funds are without sufficient information or knowledge to plead the
precise nature, extent, or amount of Defendant Aussie’s delinquency because the
books, records, and information necessary to determine this liability are in the
exclusive possession, custody, control, and knowledge of Defendant Aussie.

37. The Funds and their fiduciaries or officers are adversely affected or
damaged by the lack of an audit as, among other things, they have a fiduciary duty to
audit, confirm amounts due, and collect amounts owed, from contributing employers,
such as Defendant Aussie.

38. The Funds and their fiduciaries or officers have no adequate remedy at
law for lack of an audit as the calculation of any damages suffered as a result of this
breach can only be ascertained from an audit of Defendant Aussie.

WHEREFORE, the Funds respectfully request the following relief:

a. Order Defendant Aussie, their officers, agents, servants,
employees, attorneys and all others, to permit an audit of all records under the actual
or constructive control of Defendant Aussie, and in the absence of such records, to

cooperate in alternative methods for the determination of work for which

 
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contributions are due; and
b. Grant any such other and further relief as this Court may deem
equitable, just and appropriate.
COUNT FOUR

39. The Funds incorporate the allegations in Paragraphs 1 through 38 of this
Complaint as if set forth herein in their entirety.

40. On information and belief, the Defendant Aussie has failed to make
fringe benefit contributions to the Plaintiffs as required by the CBA and Trust
Agreements in a period not barred by any applicable statute of limitations or
similar bar.

41. The Plaintiffs are without sufficient information or knowledge to
plead the precise nature, extent and amount of Defendant Aussie’s delinquency
since the books, records and information necessary to determine this liability are in
the possession, control or knowledge of the Defendant Aussie.

42, On information and belief, the Plaintiffs have been damaged by the
failure of Defendant Aussie to make contributions as required by its CBAs and
Trust Agreements.

WHEREFORE, the Funds respectfully request the following relief:

a. After an audit has been performed, enter judgment against

Defendant Aussie in favor of the Funds for the contributions found to be due and

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owing by the audit, together with interest at the rate prescribed by 26 U.S.C. §6621
from the due date for payment until the date of actual payment, liquidated damages
of up to twenty percent (20%) of the unpaid contributions, the cost of the audit, and
reasonable attorneys’ fees and costs incurred in this action and in connection with
any proceedings to enforce or collect any judgment; and

b. Grant any such other and further relief as this Court may deem
equitable, just and appropriate.

COUNT FIVE

43. The Funds incorporate the allegations of paragraphs | through 42 of the
Complaint as if set forth herein in their entirety.

44. On information and belief, Defendant Aussie has failed to remit dues
check-offs to Plaintiff Union as required by the CBA 1n a period not barred by any
applicable statute of limitations or similar bar.

45. The Plaintiff Union is without sufficient information or knowledge to
plead the precise nature, extent and amount of the dues owed by Defendant Aussie
since the books, records and information necessary to determine this liability are in
the possession, control or knowledge of Defendant Aussie.

46. Plaintiff Union is adversely affected or damaged as a proximate result
of Defendant Aussie’s breach of the CBA and the documents incorporated therein,

with respect to any amounts that are found to be due and owing to Plaintiff Union.

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WHEREFORE, the Funds respectfully request the following relief:
a. After an audit has been performed, enter judgment against
Defendant Aussie in favor of Plaintiff Union for the dues found to be due and owing
by the audit, together with interest at the rate prescribed by 26 U.S.C. §6621 from the
due date for payment until the date of actual payment, liquidated damages of up to
twenty percent (20%) of the unpaid contributions, the cost of the audit, and
reasonable attorneys’ fees and costs incurred in this action and in connection with
any proceedings to enforce or collect any judgment pursuant to §515 of ERISA, 29
ULS.C. §1132(g)(2); and
b. Grant any such other and further relief as this Court may deem
equitable, just and appropriate.
COUNT SIX
47. The Funds incorporate the allegations of paragraphs | through 46 of the
Complaint as if set forth herein in their entirety.
48. A money judgment or other remedy available at law is inadequate
because Defendant Aussie has shown their disregard of their contractual and legal
obligations by their refusal to permit an audit, a consistent pattern of delinquencies

and other acts.

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49. Unless ordered otherwise by this Court, Defendant Aussie will continue
their conduct in violation of the CBA and, as a result, fail to remit contributions
owed, and Plaintiff Funds and their participants will be irreparably damaged.

50. All other conditions precedent to equitable relief have been satisfied.

WHEREFORE, the Plaintiff Funds ask that the Court:

a. Permanently restrain and enjoin Defendant Aussie, their officers,
agents, servants, employees, attorneys, and all others in active concert or
participation with them from continuing to violate the terms of the current CBA
between Defendant Aussie and Plaintiff Union and from violating such other CBAs
as may from time to time be entered by the said parties providing for the timely filing
of remittance reports with complete, accurate and proper information and timely
payment of contributions to the Plaintiff Funds and Union for so long as Defendant
Aussie is contractually required to do so; and

b. Grant such other or further relief, legal or equitable, as may be just,

necessary or appropriate.

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Dated: FebruaryaS 2020

Respectfully submitted,

O’BRIEN, BELLAND & BUSHINSKY, LLC

Attorneys for Plaintiffs

By:

   

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